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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------X
                                         :
                                         :            11md2296 (DLC)
                                         :            12cv2652 (DLC)
                                         :
 In re: Tribune Company Fraudulent       :           OPINION AND ORDER
 Conveyance Litigation                   :
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APPEARANCES

For the Trustee:
David M. Zensky
Mitchell P. Hurley
Akin Gump Strauss Hauer & Feld LLP
One Bryant Park
New York, NY 10036

Robert J. Lack
Jeffrey R. Wang
Friedman Kaplan Seiler & Adelman LLP
7 Times Square
New York, NY 10036

Liaison Counsel to the Shareholder Defendants Executive
Committee:
Andrew G. Devore
Joshua Y. Sturm
Ropes & Gray LLP
Prudential Tower, 800 Boylston Street
Boston, MA 02199

DENISE COTE, District Judge:

     The Litigation Trustee for the Tribune Litigation Trust

(the “Trustee”) has moved for leave to file a Sixth Amended

Complaint (“6AC”) in Marc S. Kirschner, as Litigation Trustee

for the Tribune Litigation Trust v. Dennis FitzSimons, et al.,
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12cv2652 (the “FitzSimons Action”) to add claims for

constructive fraudulent transfer under 11 U.S.C. § 548(a)(1)(B)

(“Federal CFT Claims”) against former shareholders of the

Tribune Company (the “Shareholders” and “Tribune”).         That motion

is denied.


                               Background

    This lawsuit arises out of the 2007 leveraged buyout

(“LBO”) of Tribune and its subsequent bankruptcy in 2008.          That

transaction and subsequent events are described in greater

detail in an Opinion of January 23, 2019.        In re Tribune Co.

Fraudulent Conveyance Litig., 11md2296 (DLC), 2019 WL 294807

(S.D.N.Y. Jan. 23, 2019).     The following facts and procedural

history are of particular relevance to the Trustee’s motion to

amend.

    In the two-step LBO, Tribune purchased all of its

outstanding stock from the Shareholders for about $8 billion.

In order to carry out Step One of that transaction, Tribune

transmitted the cash required to repurchase its shares in

connection with a tender offer to Computershare Trust Company,

N.A. (“CTC”) pursuant to CTC’s agreement to act as “Depositary.”

CTC then accepted and held tendered shares on Tribune’s behalf

and paid out $34 per share to the tendering Shareholders.          The

Step One tender offer was oversubscribed, and the remaining



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outstanding shares were repurchased in Step Two at the same

price.     In Step Two, CTC was engaged as an “Exchange Agent” to

perform essentially the same function.

    Soon after the LBO was completed, Tribune experienced

serious financial difficulties.         As a result of this financial

distress, Tribune and many of its subsidiaries filed for Chapter

11 bankruptcy in the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”) on December 8,

2008.     On October 27, 2010, the Bankruptcy Court granted

standing to the Official Committee of Unsecured Creditors of

Tribune (the “Committee” or “UCC”) to assert claims on behalf of

Tribune’s bankruptcy estate.         The UCC initiated the FitzSimons

Action in the Bankruptcy Court on November 1, 2010 against

Tribune’s directors, officers, Shareholders, and financial

advisors to claw back funds transferred during the LBO.             Of

particular relevance to the current motion, Count One in the

FitzSimons Action was a claim against the Shareholders for

intentional fraudulent transfer pursuant to 5 U.S.C. §

548(a)(1)(A) (the “Federal IFT Claim”).

    On June 25, 2011, the Bankruptcy Court granted Tribune’s

creditors (“Creditors”) relief from the automatic stay to allow

them to pursue state law constructive fraudulent conveyance

claims.     That order stated that “[b]ecause no state law

constructive fraudulent conveyance claims against [the


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Shareholders] were commenced by or on behalf of the Debtors’

estates before the expiration of the applicable statute of

limitations under 11 U.S.C. § 546(a), the Debtors’ creditors

have regained the right, if any, to prosecute their respective

state law constructive fraudulent conveyance claims against [the

Shareholders].”   The Creditors then filed numerous state law

actions against the Shareholders in venues across the country

(the “Creditor Actions”).     On December 19, 2011, pursuant to 28

U.S.C. § 1407, the Judicial Panel on Multidistrict Litigation

(the “MDL Panel”) consolidated approximately forty federal and

state cases involving more than 5,000 defendants in the Southern

District of New York before the Honorable Richard Holwell.              See

In re Tribune Co. Fraudulent Conveyance Litig., 831 F. Supp. 2d

1371 (J.P.M.L. 2011).

    On March 20, 2012, the MDL Panel transferred the FitzSimons

Action to the Southern District of New York to proceed as part

of the MDL.   On July 23, 2012, the Bankruptcy Court confirmed a

plan for Tribune’s reorganization (the “Plan”) which transferred

the UCC’s claims to a Litigation Trust (the “Trust”).          The Plan

defined the assets of the Litigation Trust to include

    (a) any and all LBO-related Causes of Action that the
    Tribune Entities or the Debtors’ Estates may have or
    are entitled to assert on behalf of their respective
    Estates (whether or not asserted) against the Non-
    Settling Defendants under any provision of the
    Bankruptcy Code or any applicable nonbankruptcy law



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     including, without limitation, any and all claims
     under chapter 5 of the Bankruptcy Code . . . .

The preserved causes of action specifically excluded “the

Disclaimed State Law Avoidance Claims,” which in turn are

defined as:

     any and all LBO-related Causes of Action arising under
     state fraudulent conveyance law that existed in favor
     of any Holder of a Claim that arose prior to the
     Petition Date against Selling Stockholders . . .
     [except] (i) any claims for intentional fraudulent
     conveyance [and] (ii) any and all LBO related causes
     of action [asserted in the FitzSimons action].

     On June 4, 2013, the Trustee moved as the “successor

plaintiff” to the UCC in the FitzSimons Action to amend the

operative complaint, a motion which was granted on July 22,

2013.     On August 2, 2013, the Trustee filed the fifth amended

complaint in the FitzSimons Action (“FAC”).1

     On September 23, 2013, the Honorable Richard Sullivan, to

whom this litigation had been reassigned, granted the

defendants’ motion to dismiss the Creditors’ state-law

fraudulent conveyance claims brought in the Creditor Actions,

finding that Section 362(a)(1) of the Bankruptcy Code deprives

individual creditors of standing to challenge the same




1 Although this was the fifth amendment of the FitzSimons
complaint, only the FAC made substantive changes to the
complaint. The prior amendments made non-substantive changes
such as adding or dropping defendants, correcting the caption,
or fixing typographical errors.


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transactions that the UCC was simultaneously seeking to avoid.

In re Tribune Co. Fraudulent Conveyance Litig., 499 B.R. 310

(S.D.N.Y. 2013).    On September 30, 2013, the parties in those

actions filed a joint notice of appeal, and on March 29, 2016,

the Court of Appeals for the Second Circuit affirmed Judge

Sullivan’s decision on different grounds, holding that Section

362(a)(1) did not deprive the Creditors of standing, but that

their state law fraudulent conveyance claims were preempted by

the Section 546(e) safe harbor provision of the Bankruptcy Code.

In re Tribune Co. Fraudulent Conveyance Litig., 818 F.3d 98 (2d

Cir. 2016).   On July 22, 2016, the Second Circuit denied

rehearing en banc, and the Second Circuit’s mandate issued on

August 1, 2016.    On September 9, 2016, the plaintiffs in the

Creditor Actions filed a petition for a writ of certiorari with

the United States Supreme Court.         See Deutsche Bank Tr. Co.

Ams., et al. v. Robert R. McCormick Found., et al., No. 16-317.

    On May 1, 2017, the Supreme Court granted certiorari in

Merit Management Group, LP v. FTI Consulting, Inc., 137 S. Ct.

2092 (2017) (granting petition for a writ of certiorari).            In

Merit Management, the Seventh Circuit held that “the section

546(e) safe harbor [does not] protect[] transfers that are

simply conducted through financial institutions (or the other

entities named in section 546(e)), where the entity is neither

the debtor nor the transferee but only the conduit.”          830 F.3d


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690, 691 (7th Cir. 2016) (emphasis in original).            The law in the

Second Circuit at that time was that Section 546(e) applied to

any transaction involving one of the financial entities listed

in that section, “even as a conduit.”          In re Quebecor World

(USA) Inc., 719 F.3d 94, 100 (2d Cir. 2013).           The law in the

Third Circuit, where the FitzSimons Action originated, was the

same.     See In re Plassein Int’l Corp., 590 F.3d 252, 256-57 (3d

Cir. 2009); In re Resorts Int’l, Inc., 181 F.3d 505, 516 (3d

Cir. 1999).

    On January 6, 2017, Judge Sullivan granted the

Shareholders’ motion to dismiss Count One of the FAC in the

FitzSimons Action, which sought to avoid billions of dollars

paid to Tribune’s Shareholders during the LBO as actual

fraudulent conveyances under the Bankruptcy Code.            In re Tribune

Fraudulent Conveyance Litig., 11md2296 (RJS), 2017 WL 82391

(S.D.N.Y. Jan. 6, 2017).        The January 2017 Opinion declined to

impute the intent of Tribune’s officers to Tribune for purposes

of the Trustee’s actual fraudulent conveyance claim, and

determined that, although the Independent Directors’ intent

could be imputed to the Company, the Trustee had not

sufficiently alleged that the Independent Directors acted with

fraudulent intent.       Id. at *11, *15.     Following the January 2017

Opinion, Judge Sullivan partially lifted the discovery stay to

allow document discovery to proceed.


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    On July 18, 2017, less than three months after the Supreme

Court had granted certiorari in Merit Management, the Trustee

sought permission to file a motion to amend the FAC to add the

Federal CFT Claims, anticipating that the Supreme Court would

reverse the Second and Third Circuit’s interpretation of Section

546(e).   On August 24, 2017, Judge Sullivan rejected that

request as premature because the claim was “presently barred by

governing circuit precedent,” and “the mere prospect of change

in law is not a sufficient grounds for permitting the filing of

an otherwise admittedly futile amended complaint.”         Judge

Sullivan’s order also noted, however, that “[i]f, and when, the

Supreme Court affirms the Seventh Circuit in [Merit Management],

the Trustee would have a strong argument in support of amending

his complaint to include the constructive fraudulent conveyance

claim.”

    On February 27, 2018, the Supreme Court unanimously

affirmed the Seventh Circuit’s decision in Merit Management.

See Merit Mgmt. Grp., LP v. FTI Consulting, Inc., 138 S. Ct. 883

(2018), holding that “the relevant transfer for purposes of §

546(e) safe-harbor inquiry is the overarching transfer . . . .”

Id. at 893.   Shortly thereafter, on March 8, 2018, the Trustee

renewed his request to file a motion to amend the FAC to add

Federal CFT Claims to Count One against the Shareholder

defendants.   On April 3, 2018, Justice Kennedy and Justice


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Thomas issued a statement concerning the petition for certiorari

in the Creditor Actions, advising the parties that

    consideration of the petition for certiorari [would]
    be deferred for an additional period of time . . .
    [to] allow the Court of Appeals or the District Court
    to consider whether to recall the mandate, entertain a
    Federal Rule of Civil Procedure 60(b) motion to vacate
    the earlier judgment, or provide any other available
    relief in light of [the Supreme Court’s] decision in
    Merit Management . . . given the possibility that
    there might not be a quorum in the [Supreme] Court.

Deutsche Bank Tr. Co. Americas v. Robert R. McCormick Found.,

138 S. Ct. 1162, 1162–63 (2018).         On May 15, 2018, the Second

Circuit recalled the mandate in the Creditor Actions “in

anticipation of further panel review.”         On June 18, 2018, Judge

Sullivan stayed the Trustee’s request to amend pending further

action by the Second Circuit in the Creditor Actions, noting

that the Second Circuit is likely to rule on the applicability

of Section 546(e) to the LBO in the related Creditor Actions.

    The MDL was reassigned to this Court on December 1, 2018.

An Opinion and Order of January 23, 2019 resolved the

outstanding motions in this case and dismissed several claims

asserted against various remaining defendants.         In re Tribune

Co. Fraudulent Conveyance Litig., 11md2296 (DLC), 2019 WL 284807

(S.D.N.Y. Jan. 23, 2019).     The parties were provided with a

window of two months to settle all surviving claims, with

depositions to begin on March 25, 2019 and fact discovery to

conclude on December 13.


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     On March 26, 2019, the Trustee and the remaining defendants

filed a joint letter alerting the Court that a settlement in

principle had been reached with respect to virtually all

remaining claims,2 leaving only the Trustee’s request to amend to

be addressed.   A telephone conference was held on March 27.            At

that conference, the Court proposed a schedule for briefing the

Trustee’s motion to amend and the parties were directed to meet

and confer regarding that schedule.      The parties adopted the

Court’s proposal and the Trustee filed his motion on April 4.

That motion became fully submitted on April 12.3

                              Discussion

I. Judicial Estoppel

     As a threshold matter, the Shareholders argue that the

Trustee is barred from seeking amendment by the doctrine of

judicial estoppel.     That argument is unpersuasive.

          The doctrine of judicial estoppel prevents a
     party from asserting a factual position in one legal
     proceeding that is contrary to a position that is
     successfully advanced in another proceeding. Judicial
     estoppel will prevent a party who failed to disclose a


2 The sole exception was Count Twenty-Three of the FAC. Count
Twenty-Three seeks recovery of a reimbursement paid to Morgan
Stanley, pursuant to Section 547(b) and 550(a) of the Bankruptcy
Code. On March 29, counsel for the Trustee filed a letter with
the Court indicating that the parties had reached a settlement
in principle with respect to that claim as well.
3 Subsets of Shareholders opposed the motion on grounds that are
particular to them. Because this motion is resolved on global
grounds, those arguments are not addressed in this Opinion.


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    claim in bankruptcy proceedings from asserting that
    claim after emerging from bankruptcy.

BPP Illinois, LLC v. Royal Bank of Scotland Grp. PLC, 859 F.3d

188, 192 (2d Cir. 2017) (citation omitted).        “Generally,

judicial estoppel will apply if: [A] a party’s later position is

clearly inconsistent with its earlier position; [B] the party’s

former position has been adopted in some way by the court in the

earlier proceeding; and [C] the party asserting the two

positions would derive an unfair advantage against the party

seeing estoppel.”     Id. (citation omitted).

    “[T]he exact criteria for invoking judicial estoppel will

vary based on specific factual contexts.”        Adelphia Recovery

Trust v. Goldman, Sachs & Co., 748 F.3d 110, 116 (2d Cir. 2014)

(citation omitted).    The purpose of the doctrine “is to protect

the integrity of the judicial process by prohibiting parties

from deliberately changing positions according to the exigencies

of the moment.”   Id. (citation omitted).       “Because the rule is

intended to prevent improper use of judicial machinery, judicial

estoppel is an equitable doctrine invoked by a court at its

discretion.”   New Hampshire v. Maine, 532 U.S. 742, 750 (2001)

(citation omitted).

    Judicial estoppel is not appropriate here.         The Trustee’s

motion to amend is occasioned by an intervening change in

governing law.    Judicial estoppel is generally applied to



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inconsistent factual positions.      BPP Illinois, 859 F.3d at 192.

Courts regularly allow plaintiffs to amend their pleadings when

there has been an intervening change in governing law during the

pendency of the litigation.     See, e.g., Elsevier Inc. v.

Grossman, 12cv5121 (KPF), 2017 WL 1843298, at *9 (S.D.N.Y. May

8, 2017) (collecting cases).

    The Shareholders argue that the Trustee’s predecessor, the

UCC, took an “inconsistent position” in the Bankruptcy Court,

where it supported the lifting of the automatic stay to allow

the Creditors to pursue state law CFT claims.        Judicial estoppel

requires “a true inconsistency between the statements in the two

proceedings.   If the statements can be reconciled there is no

occasion to apply an estoppel.”      Wight v. BankAmerica Corp., 219

F.3d 79, 90 (2d Cir. 2000) (citation omitted).        The UCC went to

great lengths in the Bankruptcy Court to distinguish the claims

it intended to pursue in the FitzSimons Action from the CFT

claims the Creditors sought to pursue.       These statements are

easily reconcilable with the position the Trustee now asserts.

At no point did the Trustee or his predecessor disclaim the

Federal CFT Claims.    Rather, the Trustee disclaimed only state

law CFT claims, which were then asserted by the Creditors.          It

is true that the Trustee and its predecessor were not always

precise about distinguishing between state and federal CFT

claims when arguing before the Bankruptcy Court.        Read in


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context, however, these statements indicate that the Trustee and

his predecessor disclaimed only state law CFT claims, while

retaining any claims under federal law, including under Chapter

5 of the Bankruptcy Code.     The Bankruptcy Court’s order lifting

the automatic stay confirms this, as does the Plan.

    The Shareholders further argue that the Bankruptcy Court

“undoubtedly would have approached the proceedings differently”

but for the UCC’s and the Trustee’s statements.        This contention

is largely speculative, especially considering that both the

lift stay order and the Plan clearly preserved the Federal CFT

Claims for the Trustee.

II. Leave to Amend

    Under Rule 15(a)(2), Fed. R. Civ. P., a party may amend its

pleading only with the opposing party’s written consent or the

court’s leave.   “The court should freely give leave when justice

so requires.”    Fed. R. Civ. P. 15(a)(2).     Nevertheless, it

remains “within the sound discretion of the district court to

grant or deny leave to amend.”     Kim v. Kimm, 884 F.3d 98, 105

(2d Cir. 2018) (citation omitted).       Leave to amend may be denied

“for good reason, including futility, bad faith, undue delay, or

undue prejudice to the opposing party.”       Id. (citation omitted).

    Prejudice to the opposing party may occur if the new claim

would: “(i) require the opponent to expend significant

additional resources to conduct discovery and prepare for trial;


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(ii) significantly delay the resolution of the dispute; or (iii)

prevent the plaintiff from bringing a timely action in another

jurisdiction.”    Pasternack v. Shrader, 863 F.3d 162, 174 (2d

Cir. 2017) (citation omitted).     Mere delay absent a showing of

bad faith or undue prejudice is insufficient to deny the right

to amend.   Id.   Nor can complaints of “the time, effort and

money expended in litigating the matter,” without more,

constitute prejudice sufficient to warrant denial of leave to

amend.   Id. (citation omitted).

    A proposed amendment is “futile when it could not withstand

a motion to dismiss.”     F5 Capital v. Pappas, 856 F.3d 61, 89 (2d

Cir. 2017) (citation omitted).     “Thus, the standard for denying

leave to amend based on futility is the same as the standard for

granting a motion to dismiss.”     IBEW Local Union No. 58 Pension

Trust Fund and Annuity Fund v. Royal Bank of Scotland Grp., PLC,

783 F.3d 383, 389 (2d Cir. 2015).        On a motion to amend, like a

motion to dismiss, all factual allegations in the complaint are

accepted as true and all reasonable inferences are drawn in

favor of the plaintiff.    See Krys v. Pigott, 749 F.3d 117, 128,

134 (2d Cir. 2014).

    “A complaint is deemed to include any written instrument

attached to it as an exhibit or any statements or documents

incorporated in it by reference.”        Nicosia v. Amazon.com, Inc.,

834 F.3d 220, 230 (2d Cir. 2016) (citation omitted).         A court


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may also consider documents that are “integral to the

complaint.”   Goel v. Bunge, Ltd., 820 F.3d 554, 559 (2d Cir.

2016).   “A document is integral to the complaint where the

complaint relies heavily upon its terms and effect.”         Id.   A

court may consider “documents that the plaintiffs either

possessed or knew about and upon which they relied in bringing

the suit . . . .”     Rothman v. Gregor, 220 F.3d 81, 88 (2d Cir.

2000).   A court may also take judicial notice of “relevant

matters of public record.”     Giraldo v. Kessler, 694 F.3d 161,

164 (2d Cir. 2012).

    a. Bad Faith

    The Shareholders contend that the Trustee’s motion to amend

is brought in bad faith, because his predecessor made a tactical

decision to disavow the Federal CFT Claims in order to allow the

Creditors to pursue CFT claims under state law.        This argument

is unpersuasive.    The Trustee correctly notes that, both at the

time the FitzSimons Action was commenced, and at the time the

FAC was filed, it was settled law in both the Second Circuit and

the Third Circuit (where the action was initially commenced)

that Section 546(e) barred a bankruptcy trustee from pursuing a

Federal CFT Claim where the challenged transaction went through

a financial institution acting as an intermediary or conduit.

Merit Management reversed that holding and, in the Trustee’s

view, opened the door for his Federal CFT Claims.         This


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intervening change in law gave the Trustee a good faith basis to

pursue amendment of the FAC.

    The Shareholders argue that the Trustee and his predecessor

could have pursued his Federal CFT Claims earlier,

notwithstanding controlling precedent in the Second and Third

Circuits, by seeking en banc review or Supreme Court review of

those precedents, and that he and his predecessor made a

strategic decision not to do so.      It is unsurprising that the

Trustee chose not to expend the resources of the Trust by

pursuing a claim that was barred by governing law.         This does

not support an inference that the Trustee’s current motion to

amend is brought in bad faith.

    b. Undue Delay

    Nor did the Trustee unduly delay seeking leave to amend.

While Merit Management was pending, the Trustee diligently

sought leave to amend in response to an anticipated change in

governing law.   Judge Sullivan denied that request as premature

because Merit Management had not yet been decided.         After Merit

Management was decided, the Trustee promptly renewed his request

for leave to amend.

    c. Undue Prejudice

    It is true, however, that the Shareholders will suffer

substantial prejudice if the Trustee’s proposed amendment is

allowed.   It is of particular significance that, at this stage


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in the litigation, the only claim against the Shareholders

asserted in the FitzSimons Action has been dismissed for over

two years, subject to appeal.     Because of the sheer size of this

litigation, the number of defendants, and the number of claims

asserted, the dismissal of the Federal IFT Claim against the

Shareholders has not yet been reduced to judgment.         The Trustee

should not be permitted take advantage of this fortuity to

justify further delay, despite his diligence in promptly seeking

to amend his complaint in response to a change in law.         Allowing

the Trustee to add Federal CFT Claims against the Shareholders

at this late hour would cause the Shareholders to “expend

significant additional resources to conduct discovery and

prepare for trial” and would “significantly delay the resolution

of the dispute.”    Pasternack, 863 F.3d at 174 (citation

omitted).

    As Judge Sullivan noted in his January 2017 decision, any

further amendment

    would result in substantial prejudice to the
    Shareholder Defendants. Given the strong presumption
    that stock transactions are final, the resulting
    prejudice is especially acute here. More than 5,000
    Shareholder Defendants -- alleged to have done nothing
    more than receive payment for their shares in an LBO -
    - have been in limbo for almost a decade. Any
    additional delay comes at a significant cost to the
    certainty, speed, finality, and stability of financial
    markets, a concern that animated Congress’s drafting
    of the Bankruptcy Code and the Second Circuit’s
    Opinion in [the Creditor Actions].



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In re Tribune Fraudulent Conveyance Litig., 2017 WL 82391, at

*21.4    Those concerns have only become more acute in the

intervening twenty-eight months, and provide “good reason” for

denial of this motion.     See Kim, 884 F.3d at 105.      Although the

Trustee has a stronger basis for amending his complaint than he

did in January 2017 because of an intervening change in

governing law, that has little bearing on the prejudice that

will be suffered by the Shareholders if this litigation were to

continue on.     Standing alone, undue prejudice to the

Shareholders provides a sufficient basis upon which to deny the

Trustee’s motion.

        D. Futility

             i. Relation Back

        The statute of limitations for the Federal CFT Claims is

two years.     11 U.S.C. § 546(a).   The statute of limitations on

the Trustee’s Federal CFT Claims therefore expired in December

2010.     Accordingly, the Federal CFT Claims are barred by the




4 The Trustee wrongly suggests that the Supreme Court rejected
the argument that Section 546(e) was motivated by concerns about
finality of transactions and stability of financial markets. In
fact, the Court rejected the contention that Section 546(e) was
meant to protect “component parts” of transactions, rather than
transactions by certain types of covered entities. See Merit
Management, 138 S. Ct. at 895. That has no bearing on the
overall policy of the statute or whether Tribune is such a
covered entity.


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statute of limitations unless those claims relate back to the

filing of the initial FitzSimons complaint in November 2010.

    An amendment to a pleading relates back to the date of the

original pleading when “the amendment asserts a claim or defense

that arose out of the conduct, transaction, or occurrence set

out -- or attempted to be set out -- in the original pleading .

. . .”   Fed. R. Civ. P. 15(c)(1)(B).     The Shareholders do not

dispute that this standard is met here -- the Federal CFT Claims

arise out of the same transaction that has been the subject of

this litigation for nearly a decade.

    The Shareholders argue, however, that the Federal CFT

Claims cannot relate back because the only claim against the

Shareholders -- the Federal IFT Claim in Count One -- has been

dismissed.   This argument is unavailing.      Although the sole

claim against the Shareholders has been dismissed, this action

remains pending and the Federal CFT Claims relate back to the

timely-filed IFT Claim.

          ii. Section 546(e)

    As an initial argument, the Trustee contends that the

Shareholders’ Section 546(e) defense cannot be adjudicated on

this motion to amend because further factual development is

necessary.   That argument is unavailing.      The application of

Section 546(e) presents a straightforward question of statutory




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interpretation of the type that is appropriately resolved on the

pleadings.5

     The Shareholders principally argue that the Trustee’s

proposed amendment would be futile because his Federal CFT

Claims are barred by Section 546(e) notwithstanding the Supreme

Court’s holding in Merit Management.

     Section 546(e) provides:

     Notwithstanding sections 544, 545, 547, 548(a)(1)(B),
     and 548(b) of this title, the trustee may not avoid a
     transfer that is a margin payment, as defined in
     section 101, 741, or 761 of this title, or settlement
     payment, as defined in section 101 or 741 of this
     title, made by or to (or for the benefit of) a
     commodity broker, forward contract merchant,
     stockbroker, financial institution, financial
     participant, or securities clearing agency, or that is
     a transfer made by or to (or for the benefit of) a
     commodity broker, forward contract merchant,
     stockbroker, financial institution, financial
     participant, or securities clearing agency, in
     connection with a securities contract, as defined in
     section 741(7), commodity contract, as defined in
     section 761(4), or forward contract, that is made
     before the commencement of the case, except under
     section 548(a)(1)(A) of this title.

11 U.S.C. § 546(e).    Of relevance to the analysis that follows,

Section 546(e) bars a Trustee from asserting a claim for

constructive fraudulent conveyance with respect to a “settlement




5 The Trustee also notes that the application of Section 546(e)
to the LBO is currently sub judice before the Second Circuit in
the related Creditor Actions. It is unduly prejudicial to all
parties to further delay adjudication of this sole remaining
question in the FitzSimons Action and entry of judgment.


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payment . . . made by . . . [a] financial institution [or]

financial participant,” or “a transfer made by . . . [a]

financial institution [or] financial participant . . . in

connection with a securities contract . . . .”        11 U.S.C. §

546(e).

     There is no dispute that the transfers at issue here are

both “settlement payments” and “in connection with a securities

contract.”   It is further undisputed that the transfers were

made “by” Tribune.   The parties disagree, however, whether

Tribune was an entity covered by Section 546(e), that is, either

a financial institution or a financial participant.6         The

Shareholders contend that Tribune itself is both a financial

institution and a financial participant, and that Section 546(e)

therefore bars the Trustee’s Federal CFT Claims.

     “Section 546(e) is a very broadly-worded safe-harbor

provision that was enacted to minimize the displacement caused

in the commodities and securities markets in the event of a

major bankruptcy affecting those industries.”        In re Bernard L.

Madoff Inv. Sec. LLC, 773 F.3d 411, 416 (2d Cir. 2014) (citation




6 Several Shareholders have separately opposed this motion to
amend on the ground that they are also financial institutions or
financial participants, and thereby protected by Section 546(e).
Given the finding that Tribune is a financial institution, it is
unnecessary to address these contentions by certain
Shareholders.


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omitted).   “The safe harbor limits this risk by prohibiting the

avoidance of ‘settlement payments’ made by, to, or on behalf of

a number of participants in the financial markets.”         Enron

Creditors Recovery Corp. v. Alfa, S.A.B. de C.V., 651 F.3d 329,

334 (2d Cir. 2011).    “Congress enacted § 546(e) to ensure that

honest investors will not be liable if it turns out that a

leveraged buyout (LBO) or other standard business transaction

technically rendered a firm insolvent.”       Peterson v. Somers

Dublin Ltd., 729 F.3d 741, 748 (7th Cir. 2013) (Easterbrook,

J.); see also, Grede v. FCStone, LLC, 746 F.3d 244, 252 (7th

Cir. 2014) (“[T]he § 546(e) safe harbor protects the market from

systemic risk and allows parties in the securities industry to

enter into transactions with greater confidence.”); Samuel P.

Rothschild, Bad Guys in Bankruptcy: Excluding Ponzi Schemes From

the Stockbroker Safe Harbor, 112 Colum. L. Rev. 1376, 1380-81

(2012) (exploring the legislative history of Section 546(e) in

the context of stockbrokers).

    Statutory interpretation “begins . . . with the text of the

statute.”   Nat. Res. Def. Council, Inc. v. U.S. Food and Drug

Admin., 760 F.3d 151, 172 (2d Cir. 2014).       “Where the statutory

language provides a clear answer, our analysis ends there.”

Tanvir v. Tanzin, 894 F.3d 449, 459 (2d Cir. 2018) (citation

omitted).   “If the statute is ambiguous, then we may resort to

canons of statutory interpretation to resolve the ambiguity.”


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Khalid v. Sessions, 904 F.3d 129, 132 (2d Cir. 2018) (citation

omitted).   Whether or not a statute is ambiguous is determined

“by reference to the language itself, the specific context in

which that language is used, and the broader context of the

statute as a whole.”    Id. (citation omitted).

                1) Financial Participant

    The Bankruptcy Code defines a “financial participant” as

    An entity that, at the time it enters into a
    securities contract, commodity contract, swap
    agreement, repurchase agreement, or forward contract,
    or at the time of the date of the filing of the
    petition, has one or more transactions described in
    paragraph (1), (2), (3), (4), (5), or (6) of section
    561(a) with the debtor or any other entity (other than
    an affiliate) of a total gross dollar value of not
    less than $1,000,000,000 in notional or actual
    principal amount outstanding (aggregated across
    counterparties) at such time or on any day during the
    15-month period preceding the date of the filing of
    the petition, or has gross mark-to-market positions of
    not less than $100,000 (aggregated across
    counterparties) in one or more such agreements or
    transactions with the debtor or any other entity
    (other than an affiliate) at such time or on any day
    during the 15-month period preceding the date of the
    filing of the petition . . . .

11 U.S.C. § 101(22A)(A) (emphasis supplied).        In order to be

considered a financial participant, an “entity” must have

entered into a covered transaction with “the debtor or any other

entity (other than an affiliate).”       The issue of statutory

interpretation is whether the debtor -- here, Tribune -- may be

the “entity” described at the beginning of this section.          The

better reading of the statute is that it cannot.


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    The Shareholders contend that this definition covers any

“entity” -- including the debtor -- who enters into a covered

transaction with “any other entity.”      If the “entity” described

in the first part of the definition could include the “debtor,”

the inclusion of the term “debtor” in the second part would be

puzzling.   It would be unusual if not impossible for the debtor

to enter into the covered transactions with itself, and the

Shareholders have not identified an example of a covered

transaction in which that may occur.      Further, if the term

“entity” is meant to include the debtor, then it would be

redundant to refer to “the debtor”, distinguishing it from “any

other entity” in the second part of the definition.         “It is one

of the most basic interpretive canons that a statute should be

construed so that effect is given to all its provisions, so that

no part will be inoperative or superfluous, void or

insignificant.”   Hedges v. Obama, 724 F.3d 170, 189 (2d Cir.

2013).   The clear text of the statute thus forecloses the

Shareholders’ argument that Tribune is a “financial participant”

as defined in 11 U.S.C. § 101(22A).      Section 546(e) therefore

cannot be applied to bar the Trustee’s Federal CFT Claims on

this basis.

                2) Financial Institution

    The Bankruptcy Code defines a “financial institution” to

include not only traditional financial institutions, but also,


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in defined circumstances, the customers of traditional financial

institutions.   The definition includes:

    a Federal reserve bank, or an entity that is a
    commercial or savings bank, industrial savings bank,
    savings and loan association, trust company,
    federally-insured credit union, or receiver,
    liquidating agent, or conservator for such entity and,
    when any such Federal reserve bank, receiver,
    liquidating agent, conservator or entity is acting as
    agent or custodian for a customer (whether or not a
    ‘customer’, as defined in section 741) in connection
    with a securities contract (as defined in section 741)
    such customer . . . .

11 U.S.C. § 101(22)(A).

    It is undisputed that CTC is both a “bank” and a “trust

company.”   The issues of statutory construction that are

presented are thus: (1) was Tribune a “customer” of CTC? (2) was

CTC acting as Tribune’s “agent or custodian”? and (3) was CTC

acting “in connection with a securities contract”?         Because all

three of these questions are answered in the affirmative, not

only CTC but also Tribune qualifies as a “financial

institution,” as that term is defined in the Bankruptcy Code.

The Trustee’s Federal CFT Claims are therefore barred by Section

546(e).

    The allegations in the 6AC (and documents which may be

relied on in resolving this motion) establish that Tribune was a

“customer” of CTC.   Section 101, which contains the definition

of financial institution, does not define “customer.”         In the

absence of a statutory definition, “we give the term its


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ordinary meaning, starting our inquiry with contemporaneous

dictionaries.”   Munoz-Gonzalez v. D.L.C. Limousine Serv., Inc.,

904 F.3d 208, 213 (2018); cf. UBS Fin. Servs., Inc. v. West

Virginia Univ. Hosps., Inc., 660 F.3d 643, 650 (2d Cir. 2011)

(applying the dictionary definition of the term “customer” where

that term was not defined in the FINRA Code).        The term

“financial institution” was first added to Section 546(e) by the

Bankruptcy Amendments Act of 1984, Pub. L. 98-353 (Jul. 10,

1984).   Webster’s New Twentieth Century Dictionary, published in

1983, defines “customer” as “a person who buys, especially one

who buys regularly.”     Webster’s New Twentieth Century Dictionary

(2d ed. 1983).   The current version of the Merriam-Webster

dictionary defines a “customer” as “one that purchases a

commodity or service.”     Merriam-Webster Dictionary Online,

https://www.merriam-webster.com/dictionary/customer.          The Fifth

Edition of Black’s Law Dictionary, published in 1979, defines

“customer” in as “A buyer, purchaser, consumer, or patron,” and

“[i]n banking, any person having an account with a bank or for

whom a bank has agreed to collect items.”       Black’s Law

Dictionary (5th ed. 1979).     The current version similarly

defines “customer” as “a buyer or purchaser of goods or

services” and “a person having an account with a bank or for

whom a bank has agreed to collect items.”       Black’s Law

Dictionary (10th ed. 2014).


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     Here, Tribune engaged the CTC’s services as depositary in

exchange for a fee.     SEC filings indicate that CTC was retained

by Tribune to “act as Depositary in connection with the Tender

Offer” at Step One.     It was a “purchaser” of CTC’s “services.”

Tribune was CTC’s customer in connection with the LBO

transactions at issue here.

     The Trustee attempts to limit the definition of “customer”

by reference to statutory definitions in Sections 741 and 761 of

the Bankruptcy Code, but that effort is contrary to the clear

terms of the statute.    The definition of “financial institution”

quoted above specifies that, in order to qualify as a

“customer,” a covered entity need not be a “customer” as defined

in Section 741.   11 U.S.C. § 101(22)(A).      Section 741(2) defines

“customer” for the purposes of the bankruptcy subchapter that

deals with stockbroker liquidation.7      Section 761(9) defines




7 Specifically, this Section defines “customer” to include “(A)
[an] entity with whom a person deals as principal or agent and
that has a claim against such person on account of a security
received, acquired, or held by such person in the ordinary
course of such person’s business as a stock broker, from or for
the securities account or accounts of such entity-- (i) for
safekeeping; (ii) with a view to sale; (iii) to cover a
consummated sale; (iv) pursuant to a purchase; (v) as collateral
under a security agreement; or (vi) for the purpose of effecting
registration of transfer,” as well as “(B) [an] entity that has
a claim against a person arising out of-- (i) a sale or
conversion of a security received, acquired, or held as
specified in subparagraph (A) . . . ; or (ii) a deposit of cash,
a security, or other property with such person for the purpose

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“customer” for the purpose of the subchapter that deals with

commodity broker liquidation.8     Each of these sections is

directed to a narrow issue; the transactions addressed in

Section 546(e) are not so limited and the express disclaimer of

a limited definition is both appropriate and understandable.

     Second, CTC was acting as Tribune’s “agent.”9        “[I]t is a

settled principle of interpretation that, absent other

indication, Congress intends to incorporate the well-settled

meaning of the common-law terms it uses.”       DeKalb Cty. Pension

Fund v. Transocean Ltd., 817 F.3d 393, 405 (2d Cir. 2016)




of purchasing or selling a security . . . .”        11 U.S.C. §
741(2).
8 Specifically, this Section defines the term “customer” “(A)
with respect to a futures commission merchant,” “(B) with
respect to a foreign futures commission merchant,” “(C) with
respect to a leverage transaction merchant” “(D) with respect to
a clearing organization,” and “(E) with respect to a commodity
options dealer.” 11 U.S.C. § 761(9).
9 The definition of financial institution in Section 101(22)
requires that CTC acted as Tribune’s agent or custodian. The
term “custodian” is defined by 11 U.S.C. § 101(11) as “(A) a
receiver or trustee of any of the property of the debtor,
appointed in a case or proceeding not under this title; (B)
assignee under a general assignment for the benefit of the
debtor’s creditors; or (C) trustee, receiver, or agent under
applicable law, or under a contract, that is appointed or
authorized to take charge of property of the debtor for the
purpose of enforcing a lien against such property, or for the
purpose of general administration of such property for the
benefit of the debtor’s creditors.” The Shareholders do not
contend that CTC was acting as Tribune’s custodian.


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(citation omitted).10    At common law, “[a]gency is the fiduciary

relationship that arises when one person (a ‘principal’)

manifests assent to another person (an ‘agent’) that the agent

shall act on the principal’s behalf and subject to the

principal’s control, and the agent manifests assent or otherwise

consents to so act.”     Restatement (Third) of Agency § 1.01

(2006).   Generally, the existence of a principal-agent

relationship is a mixed question of law and fact.          See

Commercial Union Ins. Co. v. Alitalia Airlines, S.p.A., 347 F.3d

448, 462 (2d Cir. 2003).     “While the existence of an agency

relationship often turns on questions of fact, the issue is

properly resolved as a matter of law where, as here, the

relevant facts are uncontroverted.”       Johnson v. Priceline.com,

Inc., 711 F.3d 271, 275 (2d Cir. 2013).




10The Trustee suggests, in a footnote, that the term “agent”
should not be construed more broadly than the term “custodian”
because of the interpretive canon noscitur a sociis -- that a
word in a statute “is known by the company it keeps.” See,
e.g., Yates v. United States, 135 S. Ct. 1074, 1085 (2015). The
Trustee is mistaken. Noscitur a sociis has limited application
where, as here, there are just two words in a statutory phrase
connected by a disjunctive “or.” That canon is more
appropriately applied to “a string of statutory terms” or “items
in a list.” Graham Cty. Soil and Water Conservation Dist. v.
United States ex rel. Wilson, 559 U.S. 280, 288-289 (2010)
(citation omitted). A court must construe the terms “agent” and
“custodian” to give each of them meaning, or else run afoul of
the equally important maxim that “statutes should be read to
avoid superfluity.” Marx v. Gen. Revenue Corp., 568 U.S. 371,
392 (2013).


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     The facts asserted in the 6AC, when read in combination

with documents that are either judicially noticeable or are

integral to the complaint, establish that CTC was acting as

Tribune’s agent.    CTC was entrusted with billions of dollars of

Tribune cash and was tasked with making payments on Tribune’s

behalf to Shareholders upon the tender of their stock

certificates to CTC.     This is a paradigmatic principal-agent

relationship.11

     Finally, CTC acted “in connection with a securities

contract.”   Section 741 defines the term “securities contract”

broadly.   As relevant here, that definition includes “a contract

for the purchase, sale, or loan of a security . . . including

any repurchase . . . transaction on any such security.”           11

U.S.C. § 741(7)(A)(i) (emphasis supplied).        It also includes

“any other agreement or transaction that is similar to an

agreement or transaction referred to in this subparagraph,” and



11The Trustee also argues, in a footnote, that a customer
qualifies as a financial institution only when the bank “is
acting as an agent or custodian” at the time the avoidance claim
is asserted. This argument is without merit. Both the
definition of “financial institution” and Section 546(e) itself
are couched in the present tense. Incorporating the definition
of “financial institution,” Section 546(e) provides that the
Trustee may not avoid, as constructively fraudulent, a transfer
that “is a settlement payment” to a bank or trust company that
“is acting as agent” for its customer, in connection with a
securities contract. The better reading of the statute is that
the bank or trust company must be acting as agent at the time
the transfer is made.


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“any security agreement or arrangement or other credit

enhancement related to any agreement or transaction referred to

in this subparagraph.”       Id. at 741(7)(A)(vii), (xi) (emphasis

supplied).     “Thus, the term ‘securities contract’ expansively

includes contracts for the purchase or sale of securities, as

well as any agreements that are similar or related to contracts

for the purchase or sale of securities.”          In re Madoff, 773 F.3d

at 418.     The Second Circuit has described 11 U.S.C. §

741(7)(A)(vii) as a “catch-all” provision, noting that “[f]ew

words in the English language are as expansive as ‘any’ and

‘similar.’”     Id. at 419, 421.

       There can be no question that Tribune’s use of CTC to

repurchase Tribune stock from Shareholders at both steps of the

LBO involved the purchase of securities.          This is sufficient to

establish that CTC’s involvement in these LBO transactions was

“in connection with a securities contract.”

       The Trustee argues that such a holding is in conflict with

the January 2019 decision regarding the Trustee’s claims against

the Independent Directors for violation of Delaware corporate

law.    See In re Tribune, 2019 WL 294807, at *18-19.          That

decision applied the independent legal significance doctrine

from Delaware law and held that since Step Two of the LBO was a

“merger” under Section 251 of the Delaware General Corporation

Law (“DGCL”), the Trustee could not pursue a claim against the


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Independent Directors for the “purchase or redemption of stock”

under DGCL Section 160.     Id. at *18.     That application of the

doctrine of independent legal significance has no bearing on the

statutory question presented here.        The Trustee has defined the

transfer it seeks to avoid as Tribune’s payment of cash to its

Shareholders.     See, Merit Management, 138 S. Ct. at 894.       That

transaction is a securities transaction and the Trustee “is not

free to define the transfer it seeks to avoid in any way it

chooses.”   Id.

    The Trustee next suggests that reading the definition of

“financial institution” to cover an entity like Tribune would

run counter to the spirit of the Supreme Court’s decision in

Merit Management, which rejected the idea that a bank or trust

company acting as a “mere conduit” can be sufficient ground to

invoke the safe harbor provision.        The tension suggested by the

Trustee between the Shareholders’ successful invocation of

Section 546(e)’s safe harbor and Merit Management does not

exist.   Among other things, in Merit Management the Supreme

Court specifically declined to address the scope of the

definition of “financial institution”: “The parties here do not

contend that either the debtor or petitioner in this case

qualified as a ‘financial institution’ by virtue of its status

as a ‘customer’ under § 101(22)(A) . . . .        We therefore do not

address what impact, if any, § 101(22)(A) would have in the


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application of the § 546(e) safe harbor.”       Merit Management, 138

S. Ct. at 890 n.2.

    The text of Section 101(22)(A) compels the conclusion that

Tribune itself was a “financial institution.”        The Trustee’s

Federal CFT claims are therefore barred by the safe harbor

provided in Section 546(e).     This result is consistent with

Section 546(e)’s goal of promoting stability and finality in

securities markets and protecting investors from claims

precisely like these.    The Trustee argues that Tribune was not a

“systemically important” institution.       But at the time of the

LBO, Tribune was a publicly traded, Fortune 500 company.          The

Trustee sued over 5,000 Shareholders of Tribune -- whose only

involvement in this transaction was receiving payment for their

shares -- to unwind securities transactions.        This is precisely

the sort of risk that Section 546(e) was intended to minimize.

                              Conclusion

    Because the Trustee’s Federal CFT Claims are barred by

Section 546(e), his proposed amendment would be futile.

Further, allowing the Trustee to amend his complaint at this

stage of the litigation would result in undue prejudice to the

Shareholders.   The Trustee’s April 4 motion to amend is denied.

Dated:    New York, New York
          April 23, 2019
                                 __________________________________
                                           DENISE COTE
                                   United States District Judge


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